Case 2:Ol-cV-03041-STA-egb Document 226 Filed 05/18/05 Page 1 of 4 Page|D 301

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEN'NESSEE

 

 

   

 

 

WESTERN DIVISION
:" ---__ gllOi.lC

.: . ., _ §)!-‘3`. CT_
MEMPHIS»SHELBY COUNTY 'v'f. ` ...,'."` `f'i`l l< §Ei-¢~};>[_HS
AIRPORT AUTHORITY, Plaintiff,Counter-Defendant,
vs. Civil Actiun No. 01-304l-M1-BRE

IURY DEMANDED

ILLINOIS VALLEY PAVING COMPANY, Defendant/Counter-Plaintiff.
ILLINOIS VALLEY PAVING COMPANY, Third~Parry P]aintiff,
vs.
JACO AIRFIELD CONSTRUCTION, INC., Thircl-Party Defendant.
JACO AIRFIELD CONSTRUCTION, lNC., Fourth-Party Plaintiff,

VS.

NEHRINGELECTRICAL WORKS COMPANY,
GRAYBAR ELECTR]C COMPANY, [NC., Fourth-Party Defendams.

 

NEHRING ELECTRICAL WORKS COMPANY,
GRAYBAR ELECTRIC COMPANY, I'NC., Fifth-Party Plaintiff,

\’.

AMERACE, a Division of Thomas & Betts
Corporation, Fifth-Party Defendants_

 

ILLINOIS VALLEY PAVING COMPANY, CrosS-Claimant,
v.

NEHRINGELECTRICAL WORKS COMPANY,
GR_AYBAR ELECTRIC COMPANY, l'NC., Cross-Defendants.

 

ORDER GRANTING GRAYBAR ELECTRIC COMPANY, INC’S IOINDER IN THE UNOPPOSED MOTION
OF NEH'RING ELECTRICAL WORKSCOMPANY FOR AN EXTENS]ON OF TIME TO FILE THE R_EPORT
OF E}CPERT RODNEY GI`NGER

 

FOR GOOD CAUSE SHOWN, this Court fmds that Graybar Electric Company should be allowed to file

Thas downwer entered on lhe docket ehth in com§ lance
with Ru!e 58 and/er 79(€.) FRCP on ‘ ~' l

Case 2:Ol-cV-03041-STA-egb Document 226 Filed 05/18/05 Page 2 of 4 Page|D 302

the report or join in the filing of the report of Expert Rodney Ginger to has been designated by Nehring Electrical
Works Company and by Graybar Elecu'ic Company, lnc.
IT IS SO ORDERED.

?"
Entered this {<E\ day ofMay, 2005.

 

 

J. AN LBREEN
ITE STATES DISTRICTIUD E

[~J

     

UND11E sTATEs D1s11C COURT ESTERN1CSR1T OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 226 in
case 2:01-CV-03041 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

.1 ennifer 1\/1. Bermel

ROSSIE LUCKETT PARKER & R]DDER
1669 Kirby Pkwy

Ste. 106

1\/1emphis7 TN 38120

.1 eremy G. Alpert
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/1emphis7 TN 38103

Lee L. Piovarcy

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Todd B. Murrah

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

1\/1emphis7 TN 38103

R. Scott McCullough

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

William O. Luckett

ROSSIE LUCKETT PARKER & R]DDER
1669 Kirby Pkwy

Ste. 106

1\/1emphis7 TN 38120

Tim Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

Case 2:Ol-cV-03041-STA-egb Document 226 Filed 05/18/05 Page 4 of 4 Page|D 304

Robert L. Crawford

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

.1 ames W. Cook

CARD COOK & HOLT
1707 Kirby Parkway
Ste. 200

1\/1emphis7 TN 38119

Oscar C. Carr

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

.1 ames W. Bruner

BROWN HAY & STEPHENS
205 S. 5th St.

Ste. 700

Springt`ield7 IL 62705--245

.1 ustin 1\/1. Ross

MARTIN TATE MORROW & MARSTON
22 North Front St.

Ste. 1 100

1\/1emphis7 TN 38103--118

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

R. Grattan Brown
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

R. Alan Pritchard

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

